     Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 1 of 41
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 1                        UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA
 2         BEFORE THE HONORABLE LARRY R. HICKS, SENIOR DISTRICT JUDGE
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 3

 4       James O'Doan,                      :   No. 3:17-cv-293-LRH-VPC
                                            :
 5                       Plaintiff,         :
                                            :   November 16, 2017
 6                -vs-                      :
                                            :
 7       City of Reno, Joshua               :   United States District Court
         Sanford, Cade Leavitt,             :   400 S. Virginia Street
 8                                          :   Reno, Nevada 89501
                         Defendants.        :
 9                                          :

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11
                          TRANSCRIPT OF MOTION TO DISMISS
12

13      A P P E A R A N C E S:

14      FOR THE PLAINTIFF:             Luke Andrew Busby
                                       Attorney at Law
15

16

17      FOR THE DEFENDANT:             Mark Hughs
                                       Attorney at Law
18

19

20

21

22      Proceedings recorded by mechanical stenography produced by
        computer-aided transcript
23

24      Reported by:                        KATHRYN M. FRENCH, RPR, CCR
                                            NEVADA LICENSE NO. 392
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                Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 2 of 41
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01:12:13    1               Reno, Nevada, Thursday, November 16, 2017, 1:30 p.m.

01:12:29    2                                        ---OoO---

01:13:05    3

01:15:14    4                THE COURT:     Good afternoon.      Have a seat please.

01:32:53    5                      THE CLERK:    Today is the date and time set for

01:32:56    6      hearing on defendant's Motion to Dismiss, document number 10

01:32:59    7      in civil case number 3:17-cv-293-LRH(VPC), James O'Doan versus

01:33:05    8      Joshua Sanford, et al.

01:34:50    9                  Counsel, can you please state your appearances for

01:34:52   10      the record.

01:34:52   11                      MR. BUSBY:    Good afternoon, Your Honor.

01:34:54   12      Appearing for plaintiff, James O'Doan, this is Luke Busby.

01:34:58   13                      THE COURT:    Welcome to the courtroom.

01:34:59   14                      MR. BUSBY:    Thank you, Your Honor.

01:35:00   15                      MR. HUGHS:    Good afternoon, Your Honor.         Deputy

01:35:01   16      City Attorney Mark Hughs for the City of Reno and Officers

01:35:05   17      Sanford and Leavitt.

01:35:06   18                      THE COURT:    Welcome to you as well.      I

01:35:09   19      appreciate having you both here.       I don't think I've had

01:35:11   20      the pleasure of having you appear before me before.

01:35:18   21                  I'm familiar with the motion that's been filed,

01:35:21   22      the opposition and the reply.       I would tell you the one thing

01:35:30   23      I'm troubled by, that you might address in your arguments, but

01:35:34   24      I don't mean to limit your arguments either, the City, the

01:35:42   25      City's opposition focuses on a large amount of the police


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                                              (775) 786-5584
                Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 3 of 41
                                                                                      3



01:35:47    1      reports, the emergency calls that were made, the dialogue

01:35:51    2      back and forth between REMSA, the Police Department, and

01:35:58    3      the lady at the scene, whose name I don't recall, and other

01:36:08    4      reports.   And I'm troubled with a Motion to Dismiss under

01:36:12    5      12(b)(6) being dependent upon evidence that is not contained

01:36:21    6      within the plaintiff's Complaint, principally, because my

01:36:26    7      obligation is to determine whether if you accept as true

01:36:31    8      everything that's been alleged in plaintiff's Complaint and

01:36:35    9      is sufficiently specific to satisfy the various standards

01:36:41   10      that apply, much of that evidence is in opposition, or at

01:36:49   11      least inconsistent with what's been alleged in plaintiff's

01:36:52   12      Complaint.

01:36:52   13                   I realize I can accept certain records, such as

01:36:58   14      public records that are routinely viewed as public records

01:37:04   15      that are not disputed in any way, but I don't think that that

01:37:07   16      extends to police reports.      Police reports are, classically,

01:37:11   17      hearsay.   They're not, classically, public records in the

01:37:16   18      sense of being matters of public record.        So for that

01:37:20   19      reason, I'm troubled over the issues in the motion.          I

01:37:26   20      understand -- I anticipate what each side is going to argue

01:37:31   21      as a result of the pleadings that have been filed but,

01:37:34   22      essentially, what's being presented to the Court is a Motion

01:37:41   23      For Summary Judgment before there's been any discovery in the

01:37:45   24      case, and without any -- I shouldn't say without any, but not

01:37:54   25      based upon the actual evidence in the case.


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                                              (775) 786-5584
                Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 4 of 41
                                                                                      4



01:37:58    1                  So, that's troubling me with this particular

01:38:01    2      motion.   On the other side of the coin, I would say this, that

01:38:07    3      virtually everything that I've seen filed would be admissible

01:38:10    4      for purposes of trial, for purposes of summary judgment.

01:38:16    5      Maybe I shouldn't make it that much of a blanket admissibility

01:38:20    6      without hearing any opposition that might be made, but I can

01:38:26    7      tell you that in my experience most of that evidence that I

01:38:30    8      see is, classically, presented with motions for summary

01:38:34    9      judgment.    And then if the motion is not successful in some

01:38:38   10      respect, that's the evidence that tends to be presented at

01:38:44   11      trial, which tends to be in dispute, and it's up to, of

01:38:48   12      course, the Court or the jury to decide the disputed evidence.

01:38:52   13                  But, that's what's troubling me at this point in

01:38:55   14      time.   I feel like I'm being handed the whole case here on the

01:39:00   15      merits.   I think both sides -- I don't see anything to suggest

01:39:04   16      that anyone is not citing what is actually in the record,

01:39:08   17      and I sense that there's probably not as much of a dispute

01:39:12   18      concerning specifics, state of mind and so forth, and the

01:39:17   19      degree of Mr. O'Doan's disability, are clear questions of

01:39:26   20      fact that can't be resolved simply by looking at the pleadings

01:39:30   21      and the states of mind of the officers too.         You can make

01:39:37   22      inferences from what you read and see, but you actually need

01:39:42   23      see and hear witnesses or have qualified evidence presented

01:39:44   24      to you, I don't consider the police reports are the kind of

01:39:49   25      public records that -- unless both sides agree that they could


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                Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 5 of 41
                                                                                           5



01:39:53    1      be considered by the Court -- are properly considered in a

01:40:00    2      12(b) Motion to Dismiss.

01:40:02    3                  So, that's what I'm troubled about.       I just thought

01:40:05    4      I'd give you a heads up on it.       It's clear to me that there's

01:40:09    5      a lot that's involved from both sides in this case.          And it's

01:40:15    6      interesting and I welcome you to argue the motion.          I'm happy

01:40:20    7      to hear what you have to say.

01:40:22    8                  So, Mr. Busby, do you want to go ahead?

01:40:25    9                      MR. HUGHS:    Your Honor, it was the City's

01:40:26   10      motion.

01:40:27   11                      THE COURT:    Oh, I'm sorry.    I got so busy

01:40:32   12      focusing on the evidence I confused who is the moving party.

01:40:35   13                  But it's you, Mr. Hughs and you're up.        You're

01:40:38   14      welcome to go forward.

01:40:40   15                      MR. HUGHS:    Thank you, Your Honor.

01:40:47   16                  Your Honor, I fear that I'm going to tread a little

01:40:52   17      bit where the Court expressed its concerns, although I suspect

01:40:59   18      that the parties would agree that the exhibits to the motion,

01:41:03   19      to the City's motion can be discussed today because, in

01:41:06   20      fact, before the hearing started, I saw Mr. Busby preparing

01:41:10   21      to present some of them to the Court in this matter.

01:41:15   22                  I'd also point out for Your Honor, and the Court is

01:41:18   23      obviously aware, you know the law that the Court may consider

01:41:22   24      publically -- public -- judicially noticeable documents in a

01:41:29   25      Motion to Dismiss.     But I think what's also important here is


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                Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 6 of 41
                                                                                       6



01:41:32    1      a portion of the basis for the Motion to Dismiss is qualified

01:41:36    2      immunity.    And there's a longstanding precedent that qualified

01:41:41    3      immunity is a matter that should be taken up early in a case,

01:41:45    4      before too many proceedings have occurred.         And that's another

01:41:49    5      reason why I think it's important to have the Court consider

01:41:52    6      those documents.

01:41:54    7                  Police reports are routinely requested, and so

01:41:57    8      police reports, I think, are rightfully considered a public

01:42:03    9      document.    And I believe both parties are going to probably

01:42:07   10      address them.    I can't guess as to --

01:42:09   11                      THE COURT:    Well, let me suggest that both

01:42:11   12      parties are free to refer to those public, what are perceived

01:42:18   13      to be public documents, reserving objection on behalf of

01:42:23   14      either side who would be objecting to that at some later time.

01:42:27   15      I want to hear your arguments.       It helps for me to become

01:42:31   16      completely familiar with the case as well.         And so you're

01:42:36   17      free to refer to those, even though I've expressed whether

01:42:40   18      I consider -- whether I can consider them for purposes of

01:42:43   19      your motion, Mr. Hughs.

01:42:45   20                      MR. HUGHS:    Thank you, Your Honor.      And I

01:42:46   21      suspect I won't be referring to them a great deal, other

01:42:50   22      than generally in regard to the motion.

01:42:52   23                  Your Honor, this is a 12(b)(6) motion, a motion,

01:42:55   24      basically, arguing that the plaintiffs have failed to state

01:42:58   25      a claim upon which they can seek relief.        The City's basic


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                Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 7 of 41
                                                                                          7



01:43:05    1      concern is that the entire motion is the "after the fact" type

01:43:09    2      of reasoning prohibited by Graham versus Conner.         In other

01:43:13    3      words, the Complaint is based upon a review of circumstances

01:43:18    4      not as they existed at the time and as the officers

01:43:21    5      encountered them -- which is why we felt it was important

01:43:24    6      for the Court to see some of the public records concerning

01:43:27    7      what the officers knew at the time -- but that, instead, the

01:43:31    8      plaintiffs are presuming knowledge that goes beyond what the

01:43:34    9      officers knew at the time.      And in fact, I anticipate that

01:43:41   10      plaintiffs are even going to go so far, today, Your Honor,

01:43:44   11      as to try to present evidence which isn't even part of the

01:43:47   12      briefing or the motions at all, but that has occurred because

01:43:50   13      discovery is ongoing at this point in time.         And that I would

01:43:53   14      object to.    Anything which isn't a judicially noticeable

01:43:58   15      public document, I would object to the Court's consideration.

01:44:00   16                   Your Honor, the plaintiff's basic argument, or

01:44:05   17      basic premise of their case here -- and there's only one

01:44:09   18      claim against the City, by the way, just an ADA or Americans

01:44:13   19      with disabilities claim.      All the other claims are civil

01:44:16   20      rights claims and/or state tort claims against one or more

01:44:19   21      of the officers.     The basic premise is the City must have

01:44:23   22      violated the Americans with Disabilities Act because its

01:44:28   23      officers arrested a man with epilepsy, and that the officers

01:44:32   24      must have violated civil rights because they arrested a man

01:44:35   25      with epilepsy.    But, Your Honor, as you're familiar with the


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                Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 8 of 41
                                                                                        8



01:44:40    1      briefs, the ADA does not prohibit arrests of someone with

01:44:44    2      epilepsy, where it's objectively reasonable under the totality

01:44:48    3      of circumstances to do so.

01:44:50    4                  I'd also point out, and this is most certainly a

01:44:53    5      public record, the justice court record that is included in

01:44:56    6      the Motion to Dismiss, that probable cause for the arrest

01:44:59    7      was found by the justice court, and so that raises the specter

01:45:05    8      of issue preclusion.     In other words, the plaintiffs can't

01:45:08    9      relitigate that issue.      It's already been found by a court to

01:45:11   10      exist.   And that's under Five Star Capital Corporation versus

01:45:18   11      Ruby, which is 124 Nevada 1048; 194 P.3d 709.

01:45:27   12                      MR. BUSBY:    Your Honor, just for the record, I

01:45:29   13      would like to lodge an objection.       That argument being beyond

01:45:33   14      the scope of what was argued in the briefs.

01:45:35   15                      THE COURT:    All right.    I'll note the objection.

01:45:36   16                  Go ahead, Mr. Hughs.

01:45:38   17                      MR. HUGHS:    Okay.   And Your Honor, I think it's

01:45:39   18      appropriate for this hearing to be able to argue the law

01:45:42   19      beyond the briefs, otherwise we wouldn't need to be here.

01:45:45   20                  But for that reason, where probable cause was found,

01:45:48   21      that cannot be relitigated, and so certain claims are knocked

01:45:54   22      out by the fact that where probable cause exists, you cannot

01:45:57   23      have a 1983 unlawful seizure claim; you cannot have a state

01:46:02   24      law false arrest claim; you cannot have a state court false

01:46:06   25      imprisonment claim because the Court, the justice court in the


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                Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 9 of 41
                                                                                             9



01:46:10    1      State of Nevada found probable cause exists.         So as to those

01:46:15    2      claims, right there, they're knocked out by the fact that

01:46:18    3      probable cause was found and we don't get to relitigate.           We

01:46:21    4      don't allow one court the second -- to retry what another

01:46:26    5      court did.

01:46:26    6                   So the real issue here, then, Your Honor, is

01:46:31    7      the allegations have to raise more than a possibility that

01:46:33    8      the defendants acted unlawfully.       And with the arguments

01:46:38    9      we provided, and the information and judicially noticeable

01:46:43   10      documents with the motion, we believe the motion demonstrates

01:46:46   11      that police were called because medical providers had

01:46:51   12      encountered a violent and uncooperative man.         He appeared

01:46:55   13      to be breaking the law.      He reacted to the police in a -- with

01:46:59   14      a threatening gesture when they approached him.         And, he posed

01:47:03   15      a danger to himself and those around him.        Under the totality

01:47:07   16      of circumstances, it was reasonable for the police to arrest

01:47:11   17      Mr. O'Doan.

01:47:12   18                   And that basically boils down what's going on here,

01:47:15   19      Your Honor.    Under those circumstances, it doesn't matter

01:47:19   20      whether Mr. O'Doan is an epileptic or not.         What the police

01:47:23   21      knew at the time -- and the motion has a timeline in it.           It

01:47:28   22      indicates, for instance -- call histories were provided, but

01:47:33   23      it wasn't until 6:55 that police officers were called.            So at

01:47:37   24      that point in time, REMSA had already responded, the Reno Fire

01:47:43   25      Department had already responded.       They were both staging,


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                                              (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 10 of 41
                                                                                    10



01:47:46    1   waiting for law enforcement, because -- and the record

01:47:49    2   reflects this -- in fact, the call log, which is Exhibit 5

01:47:53    3   to the motion, records not word for word what's in the

01:47:57    4   recordings, but some of what was reported, that Mr. O'Doan

01:48:03    5   was violent, uncooperative, hurting himself, had torn up his

01:48:09    6   house, and was trying to break out of his house.         That's a

01:48:13    7   person where law enforcement needs to step in because medical

01:48:17    8   responders aren't going to provide him with medical relief

01:48:20    9   until he's under control.

01:48:21   10              And once he did break out of his house, and the

01:48:24   11   police encountered him after he was walking down the street

01:48:28   12   naked on Kietzke Lane, on a summer night, with, by the way a

01:48:33   13   contingent of fire and REMSA, you know, basically following

01:48:38   14   along Kietzke Lane trying to stay with Mr. O'Doan, there was

01:48:44   15   a danger to himself, to all those responders, and to anybody

01:48:47   16   else on Kietzke Lane, you know, especially if Mr. O'Doan had

01:48:51   17   decided to just walk out into the street, or encountered a

01:48:55   18   bunch of children, we don't know what would have happened.

01:48:57   19              What we do know is when the police encounter him, he

01:49:00   20   turned around, made a threatening gesture.        In other words, he

01:49:04   21   responded to the police.     He did not appear to be in the fits

01:49:07   22   of some epileptic bout at that time.       So, their actions were

01:49:13   23   appropriate and reasonable under the circumstances known to

01:49:17   24   the police.   That's all they knew when they arrested him and

01:49:19   25   when they detained him.     There was no -- and the records will


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 11 of 41
                                                                                        11



01:49:27    1   indicate that there's no further indication that the officers

01:49:30    2   knew anything more, or that they found out anything more,

01:49:34    3   Your Honor, that would change the reason for the arrest or

01:49:37    4   the reason for charging Mr. O'Doan.       And then, again, we run

01:49:41    5   into the fact that once Mr. O'Doan went to court, probable

01:49:45    6   cause was found for his arrest.      So, that erases any question

01:49:49    7   about those issues right there.

01:49:54    8              So what we've got is an ADA violation, Your Honor,

01:49:57    9   against the City, based upon Mr. O'Doan's arrest.         The entire

01:50:02   10   premise of the Complaint with that allegation is if he was

01:50:06   11   arrested, there must be an ADA violation there.         But, that's

01:50:10   12   not the case.    You can arrest a person with epilepsy.           And

01:50:14   13   under the circumstances, it was appropriate to do so.

01:50:16   14              The excessive force claim against Officer Sanford,

01:50:20   15   again, under the totality of circumstances, it was reasonable

01:50:23   16   for him to use hands on -- and that's all he used was hands

01:50:27   17   on force to detain Mr. Sanford.      -- excuse me -- Mr. O'Doan.

01:50:32   18   The fact that Mr. O'Doan fought back, resisted, and injured

01:50:36   19   himself in the process, is really beyond the police control,

01:50:40   20   but that's, yet, another reason why it was appropriate for

01:50:44   21   them to take him down.

01:50:45   22              The unlawful seizure, again, probable cause finding

01:50:48   23   deletes that claim.

01:50:49   24              The due process claim is basically premised on an

01:50:55   25   allegation that Sanford and Leavitt did not put in their


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 12 of 41
                                                                                     12



01:51:00    1   probable cause statement the fact that Mr. O'Doan was an

01:51:02    2   epileptic.    But, there was never any confirmation of that.

01:51:06    3   And there's nothing in the Complaint or in any public record

01:51:09    4   that will indicate there was a confirmation of epilepsy.           And

01:51:14    5   again, he then went to Court where probable cause was found

01:51:17    6   for the arrest.    If that was the case, I think there would be

01:51:20    7   a concern there.

01:51:21    8                I would also note, though, Your Honor, they

01:51:24    9   didn't put that he was violent or breaking out of his house

01:51:27   10   or uncooperative -- I think "uncooperative," the word was in

01:51:33   11   there, but they didn't use every word that was told to them

01:51:36   12   on the call in their probable cause statement, and that does

01:51:39   13   not create a due process claim.

01:51:41   14                With regard to the assault and battery, which is

01:51:44   15   just a State tort claim, Your Honor, again, it was reasonable

01:51:47   16   for the officers to do what they did.       And I think even

01:51:50   17   the plaintiffs had conceded in their opposition that the law,

01:51:55   18   essentially, is the same for the State tort claim, as it

01:51:58   19   would be for on excessive force claim, Your Honor.         If it

01:52:01   20   was reasonable under the circumstances to use the force they

01:52:04   21   did and detain Mr. O'Doan, then it was proper to take him

01:52:09   22   down in the manner they did.      And I think it's important

01:52:11   23   to note that the police had, obviously, other tools, other

01:52:16   24   weapons available to them, but they just went hands on with

01:52:20   25   Mr. O'Doan.    They tried to use a taser, it didn't work, but


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 13 of 41
                                                                                    13



01:52:24    1   they just went hands on with Mr. O'Doan.        They didn't do

01:52:27    2   anything more severe.     They didn't beat him with a baton.

01:52:31    3   They didn't use any other weapons of that nature.

01:52:34    4              So, Your Honor, the bottom line is when you look

01:52:36    5   at the Complaint with the information which the Court can

01:52:40    6   review, especially when qualified immunity is at issue, as

01:52:44    7   it is with these civil rights claims, the plaintiff doesn't

01:52:47    8   state a plausible claim for relief.       There is -- he cannot

01:52:51    9   support     a cognizable theory of liability here.        A claim

01:52:55   10   is not plausible, Your Honor, where there is a reasonable,

01:52:59   11   alternative explanation for what happened.

01:53:03   12                   THE COURT:   All right.

01:53:03   13                   MR. HUGHS:   Thank you, Your Honor.

01:53:04   14                   THE COURT:   Thank you, Mr. Hughs.

01:53:05   15              Mr. Busby.

01:53:06   16                   MR. BUSBY:   Thank you, Your Honor.

01:53:16   17              If it please the Court, I have a few PowerPoint

01:53:19   18   slides that I would like to use to help guide you through my

01:53:23   19   presentation.    And, it's, actually, mostly for me, to help me

01:53:26   20   guide me through my presentation.

01:53:28   21              Your Honor, this case, the factual genesis of this

01:53:31   22   case is Mr. O'Doan's girlfriend, April O'Fria calling 911,

01:53:37   23   responding to Mr. O'Doan, clearly, having a very severe

01:53:41   24   seizure.   He's an epileptic.     He's known to be an epileptic.

01:53:46   25   He's subject to these horrific seizures from time to time.


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 14 of 41
                                                                                        14



01:53:50    1   And listening to Exhibit 1 to the motion, Exhibit 3 to the

01:53:53    2   motion, Exhibit 4 to the motion, and exhibit 6 to the motion,

01:53:57    3   this fact is made perfectly clear.

01:53:58    4                Mr. O'Doan had a seizure in the shower.      That's

01:54:02    5   why he was naked.    After he has a seizure, he goes into a

01:54:06    6   postictal state.    He's, basically, not conscious.       His

01:54:10    7   girlfriend, aware of what happens after he has a seizure,

01:54:13    8   calls 911, is terrified that the police are going to attack

01:54:17    9   them, informed them over and over again, please let them

01:54:21   10   know he's an epileptic.       He's having a seizure.    He needs

01:54:24   11   medical attention.    Last time, the cops beat him up because

01:54:28   12   they didn't listen to them.

01:54:30   13                Now, that raises the question did the police know

01:54:33   14   before encountering Mr. O'Doan what the situation was?            And

01:54:36   15   the answer to that question is yes.       The logs from the 911

01:54:39   16   call in Exhibit 5 to the motion, clearly show that that's

01:54:43   17   the case.    And it's alleged in the Complaint, that the Court

01:54:47   18   accepts that fact at true.      It's -- it's a fundamental bedrock

01:54:54   19   fact for Mr. O'Doan's case.

01:54:56   20                Other central operative facts in the case that are

01:54:59   21   important, Sanford and Leavitt were advised that O'Doan was an

01:55:07   22   epileptic.    Sanford's own report describes the extent of the

01:55:12   23   use of force on Mr. O'Doan.      He describes, essentially, Judo

01:55:16   24   throwing Mr. O'Doan and he states that --

01:55:17   25                    MR. HUGHS:    Your Honor, I will object.       There is


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 15 of 41
                                                                                         15



01:55:19    1   no -- well, I won't.     I'll strike that.     Excuse me.

01:55:25    2                    MR. BUSBY:     And that Mr. O'Doan, the Judo throw

01:55:27    3   caused him to suffer injuries to his head.

01:55:30    4                O'Doan was transported via ambulance to Renown.         The

01:55:33    5   ER doctor at Renown diagnosed him with having had a seizure.

01:55:38    6   He informed Sanford and Leavitt about this fact.         And after

01:55:42    7   even knowing what occurred, the officers decided to arrest

01:55:46    8   him anyway.    They never did mention the true facts and

01:55:50    9   circumstances in any of their reports.

01:55:53   10                So in the City's arguments, which the Court is

01:55:57   11   familiar with, basically create straw man arguments, arguments

01:56:04   12   that we don't even make, and they attack them because they're

01:56:07   13   easier to attack than the arguments we do actually make.           For

01:56:11   14   example, the City argues that the officers should ignore the

01:56:14   15   dangers and actual circumstances they encounter.

01:56:17   16                Okay.   Well, what are the actual circumstances?

01:56:18   17                They were told this is an epileptic who is having a

01:56:21   18   seizure, before they even got there.       So, they knew that.

01:56:25   19                O'Doan was diagnosed with having a seizure by

01:56:27   20   Dr. Di Rocco at Renown.       The whole point of the 911 call was,

01:56:34   21   hey, this person is having a seizure.       If you listen to the

01:56:34   22   calls back and forth between REMSA, the Fire Department, and

01:56:36   23   the police, that's what the discussion is about:         This guy is

01:56:39   24   postictal.    He's violent.    Right?   He's uncooperative.       He's

01:56:44   25   not in his right mind.


                                     KATHRYN M. FRENCH, RPR, CCR
                                            (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 16 of 41
                                                                                    16



01:56:47    1                First responder medical personnel know what that

01:56:49    2   means.    If the police didn't know what that means, then that

01:56:52    3   supports our ADA claim.       At a minimum, they knew he was

01:56:55    4   epileptic.    And I think it's common knowledge that everybody

01:56:58    5   knows that epileptics have seizures.

01:57:02    6                Sanford was provided with O'Doan's discharge papers

01:57:05    7   from Renown, which very clearly state, you know, he's got

01:57:08    8   abrasions, he's got injuries, and he had a seizure.         But, they

01:57:11    9   arrested him anyway.

01:57:12   10                Now --

01:57:13   11                    MR. HUGHS:    Your Honor, I will object.     I don't

01:57:15   12   believe that the Complaint alleges he was provided with

01:57:17   13   discharge papers.

01:57:20   14                    MR. BUSBY:    Your Honor, if I may.    Just one

01:57:22   15   moment.

01:57:24   16                    THE COURT:    All right.

01:57:52   17                    MR. BUSBY:    Well, Your Honor, O'Doan got

01:57:54   18   from Renown, via the Reno Police, and the police were provided

01:57:58   19   with his discharge papers.      And that's been established in

01:58:02   20   discovery subsequent to the filing of the motion --

01:58:05   21                    MR. HUGHS:    Which is basis for my objection,

01:58:07   22   Your Honor.

01:58:08   23                    MR. BUSBY:    Okay.   Well, Title II of the ADA

01:58:11   24   requires public entities to take disability into account when

01:58:15   25   making -- when interacting with disabled persons, essentially.


                                      KATHRYN M. FRENCH, RPR, CCR
                                             (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 17 of 41
                                                                                  17



01:58:19    1   The basis for our ADA claim is that Leavitt Sanford

01:58:23    2   discriminated against O'Doan by assaulting and battering

01:58:26    3   him, even though they knew he was an epileptic, and charging

01:58:31    4   him with a crime that is purely a result of him having this

01:58:34    5   disease.   It's not the result of a conscious action his part.

01:58:39    6              And, what's also become apparent is that the City

01:58:41    7   of Reno, in its capacity as policy-maker, completely failed to

01:58:44    8   train these first responders to recognize the symptoms of this

01:58:48    9   disability, of epilepsy.     Title II of the ADA requires them to

01:58:52   10   do that.   It requires them to make reasonable modifications to

01:58:55   11   their policies when they're dealing with a disabled person.

01:58:58   12   You don't -- the example that I used in the opposition of the

01:59:01   13   motion is you don't shoot a paraplegic for failing to raise

01:59:06   14   his hands in response to a police officer commanding him to

01:59:09   15   do so.

01:59:09   16              It's not logically possible for O'Doan to respond to

01:59:13   17   the commands of the police when he's in a postictal state.

01:59:16   18   He's not in control.     And the evidence in this case is going

01:59:18   19   to prove that unequivocally.

01:59:21   20              Now, the City argues that we haven't made a

01:59:24   21   cognizable claim.    Well, the case law clearly shows that

01:59:28   22   that's not the case.     The Ninth Circuit in Sheehan (phonetic)

01:59:32   23   versus San Francisco, as an issue of first impression,

01:59:35   24   unequivocally said that Title II applies to arrests; meaning,

01:59:40   25   that you have to take disability into account when you


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 18 of 41
                                                                                  18



01:59:43    1   arrest someone, and you have to take disability into account

01:59:46    2   subsequent to the arrest.

01:59:48    3              Okay.   So, did we allege that disability wasn't

01:59:52    4   taken into account?

01:59:53    5              Yes.    If the premise of the Complaint that O'Doan

01:59:57    6   was arrested because he has epilepsy, then that would be a

02:00:00    7   de facto violation of Title II.      That's the most clear example

02:00:05    8   of failing to take disability into account that I can think

02:00:08    9   of.

02:00:09   10              The Ninth Circuit, in the Sheehan decision,

02:00:13   11   specifically recognized two types of Title II ADA claims.

02:00:18   12   One for wrongful arrest, which occurred here, where police

02:00:23   13   arrest someone with a disability because they misperceive the

02:00:26   14   affects of that disability as criminal activity.         Okay?

02:00:30   15              And that's -- the fact that Di Rocco, at Renown,

02:00:33   16   told them this guy had had a seizure, is, if proven true,

02:00:37   17   is, essentially, conclusive evidence of this claim; that

02:00:41   18   Mr. O'Doan was wrongfully arrested in violation of Title II

02:00:44   19   of the ADA.   It also requires reasonable accommodations, where

02:00:50   20   although police properly investigate and arrest a person with

02:00:52   21   a disability, for a crime unrelated to that disability, they

02:00:55   22   fail to reasonably accommodate the person's disability in the

02:01:00   23   course of the investigation and arrest.        Okay?

02:01:03   24              We're not arguing that the police shouldn't have

02:01:05   25   detained Mr. O'Doan.     But according to the guidelines from


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 19 of 41
                                                                                    19



02:01:08    1   the Epilepsy Foundation, Police Best Practices, you don't use

02:01:12    2   deadly force on a sick person --

02:01:20    3                   THE COURT:   Well, let's be realistic here.

02:01:22    4   There's no deadly force that's obvious from anything that

02:01:25    5   you've filed in this case.      I mean it, obviously, was a

02:01:28    6   hands on takeover by the police.       I give you credit if you

02:01:36    7   resolve all charges in your Complaint in your favor, that

02:01:43    8   you could make a case for excessive force, if the evidence

02:01:48    9   developed that, but there's nothing in your Complaint that

02:01:52   10   shows excessive force was used by these officers.

02:01:55   11                   MR. BUSBY:   Your Honor, we respectfully, of

02:01:59   12   course, disagree with that.      If you look at --

02:02:00   13                   THE COURT:   Okay.    Well, tell me why you

02:02:02   14   disagree with it.

02:02:02   15                   MR. BUSBY:   Oh, of course.     Officer Sanford's

02:02:05   16   own description of what he did to O'Doan, contained in his

02:02:08   17   report, which is attached as an exhibit to the motion, states

02:02:11   18   that he performed a reverse reap throw on O'Doan.

02:02:16   19                   THE COURT:   Right.    And --

02:02:17   20                   MR. BUSBY:   Now, the reverse reap throw --

02:02:19   21                   THE COURT:   Well, wait.    Now what's the evidence

02:02:20   22   in your Complaint of what a reverse reap throw is, and why

02:02:24   23   that would be an improper approach to take charge of someone

02:02:29   24   who is not cooperating with the police?

02:02:32   25                   MR. BUSBY:   Well, it's -- the allegation is that


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 20 of 41
                                                                                        20



02:02:35    1   O'Doan landed on his head after being thrown.        And if you trip

02:02:40    2   someone from behind using a Judo throw technique, the way

02:02:45    3   it's been described to me, they can land right on their head,

02:02:48    4   Your Honor.   And a person landing right on their head on the

02:02:51    5   concrete, when they're unaware, when they're incapacitated,

02:02:55    6   that can most certainly kill them.       That's the basis for our

02:02:58    7   allegation that this was deadly force, Your Honor.

02:03:01    8                   THE COURT:   Okay.    All right.

02:03:03    9                   MR. BUSBY:   Now, the Sheehan case has been to

02:03:07   10   the Supreme Court, and the Supreme Court ruled on one aspect

02:03:10   11   of the Sheehan case, the qualified immunity issue.         Sheehan

02:03:14   12   involved a mentally disabled woman who pulled a knife on

02:03:18   13   the police, unfortunately, and was shot.        And in that case,

02:03:22   14   the Supreme Court determined that qualified immunity applied

02:03:25   15   because it was, it was a fast moving situation.         There was an

02:03:29   16   actual, like, threat to the officer.       She had a knife.       But

02:03:33   17   the Ninth Circuit, on the ADA claim, specifically declined

02:03:38   18   to address whether the ADA applies to arrests.         And the

02:03:42   19   opinion states:    "We're not going to address this issue

02:03:45   20   because nobody really briefed it.       We granted certiorari

02:03:49   21   so the court could consider whether Title II of the ADA

02:03:52   22   applies to arrests.     And they changed the issues on us on

02:03:55   23   the briefing, so we decline to answer that question."

02:03:58   24              As such, the Ninth Circuit's opinion, underlying

02:04:02   25   opinion on the Title II issue in the Sheehan case that the


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 21 of 41
                                                                                     21



02:04:08    1   panel issued is good law in this jurisdiction.         Title II of

02:04:12    2   the ADA applies to arrests in the Ninth Circuit.

02:04:22    3                   THE COURT:   I give you that, but how do you,

02:04:26    4   how do you compare the facts of this case with the facts in

02:04:29    5   Sheehan, where you actually have someone, a female, who is

02:04:34    6   shot by police officers, as I recall it was at least two or

02:04:39    7   three times, at a very close range, in her own home, in her

02:04:48    8   own dwelling place?     This case, seems to me, to be so far

02:04:54    9   removed Sheehan, that I have a hard time seeing how the facts

02:04:57   10   of Sheehan could be applied to this case.

02:04:59   11                   MR. BUSBY:   And Your Honor, I think the

02:05:01   12   distinction is between the amount of aggression that was

02:05:05   13   clearly being shown by Sheehan towards the officers, and

02:05:10   14   the fact that she was armed.      That seemed to really sway

02:05:13   15   the Supreme Court's decision to grant qualified immunity.

02:05:17   16                   THE COURT:   But, also, the fact that the

02:05:18   17   officers broke into her apartment, her dwelling place a

02:05:22   18   second time, as I recall -- I don't recall if the first time

02:05:26   19   was by force or not, but certainly the second time was, and

02:05:29   20   that when they did that, and she approached them with a knife,

02:05:32   21   they then shot her.     And my assessment of the case was that

02:05:37   22   the Supreme Court was very concerned that this happened in her

02:05:40   23   home, her living space, and that the officers chose, under

02:05:44   24   the circumstances, to break in, when their greatest concern at

02:05:48   25   that time would have been they just didn't know what was


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 22 of 41
                                                                                      22



02:05:52    1   happening inside.    And, that when they did break in, the woman

02:05:56    2   approached them, and they, then, not using hands on force,

02:06:02    3   not using a taser, draw their weapons and fire and shoot at

02:06:07    4   her and, in fact, shoot her at very close range.

02:06:12    5               So, I'm just having a real problem with -- the

02:06:18    6   facts of this case here is you have someone who is out in

02:06:21    7   the public.   They're not in their own living space.        You

02:06:24    8   have someone who is totally nude, walking down the street in

02:06:29    9   daylight hours.    He's walking down a street that heavily

02:06:33   10   trafficked, busy street, one of the main thoroughfares through

02:06:38   11   the streets of Reno.     And, he's not responding to police

02:06:44   12   requests.   And, he's also a great danger to himself, even

02:06:49   13   with all the medical personnel and everyone else on board

02:06:53   14   present at that scene.     The officers first attempt to taser,

02:06:58   15   which didn't work -- here I'm citing evidence that I said I

02:07:02   16   wouldn't rely on, but for sake of the argument, I will -- and

02:07:08   17   when that doesn't work, one the officers uses hands on force

02:07:13   18   to take Mr. O'Shea down -- or, O'Doan, excuse me.         And he is

02:07:19   19   arrested.   And, apparently, no one is disputing there was

02:07:24   20   some injury inflicted -- I don't know the extent of it, But

02:07:28   21   some injury inflicted at the time he was taken down.

02:07:31   22               So, I have a real problem with applying the Sheehan

02:07:35   23   case, although the principals of law are clear in Sheehan.

02:07:40   24                   MR. BUSBY:   Understood, Your Honor.      And I think

02:07:42   25   the distinction is what specifically happens to an epileptic


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 23 of 41
                                                                                     23



02:07:46    1   when they're in postictal state that's different than a

02:07:50    2   normal, you know, schizophrenic person acting aggressively

02:07:55    3   towards the police.

02:07:55    4              And the way I understand it, based on the literature

02:07:58    5   I've read, and my discussions with our experts that we've

02:08:01    6   retained, is that basically a seizure completely shuts down a

02:08:04    7   person's brain.    They're convulsing.     They're sometimes, you

02:08:08    8   know, spitting, saying things.      And after the seizure, they go

02:08:12    9   into a postictal state where slowly, very slowly, full brain

02:08:18   10   function will return.     But in that interim period before it

02:08:21   11   returns completely, the person can be kind of in a dream-like

02:08:26   12   state.   And the proper procedure for dealing with a person

02:08:30   13   who is in that state is to, number one, you can't yell at

02:08:34   14   them because they become more frightened.        And if you use

02:08:38   15   physical force against a postictal epileptic, they will,

02:08:42   16   quite commonly, become combative because they don't know

02:08:45   17   what's happening.    They're terrified.     Physical force is being

02:08:48   18   exerted on them, and so they respond involuntarily.

02:08:53   19              So, if an officer knows that, if an officer knows

02:08:58   20   how to deal with a postictal epileptic, approach them calmly,

02:09:03   21   don't yell at them -- basically, the Epilepsy Foundation

02:09:06   22   videos show people kind of trying to herd an epileptic, to

02:09:10   23   move them in a particular direction, rather than using force

02:09:14   24   against them.    If you know what to do in that circumstance,

02:09:17   25   then the outcome can be completely different.        You can avoid


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 24 of 41
                                                                                     24



02:09:22    1   injuring a person, perhaps, very gravely, who is suffering

02:09:26    2   from a medical condition only.

02:09:28    3              Now, Mr. O'Doan needed help that night.          His --

02:09:31    4   there's no denying that.     There's no denying that when he

02:09:35    5   was in a postictal state, you know, it's very strange for

02:09:39    6   people who encounter that.      But part of the claim we're

02:09:43    7   bringing in this case under the ADA is that, look, these,

02:09:46    8   these people misperceived what was going on.        Okay?    And

02:09:50    9   had they been trained properly, if they knew what to do,

02:09:53   10   there's no way Sanford would have used that kind of force on

02:09:57   11   Mr. O'Doan.

02:09:58   12                   THE COURT:   What would he have done?

02:10:00   13                   MR. BUSBY:   He could have spoken to him soft --

02:10:02   14   the record indicates that, basically, they were yelling at

02:10:05   15   him.   Stop.   Police.   And chasing after him.     Which, for a

02:10:09   16   person in a postictal state, is just going to terrify them.

02:10:13   17                   THE COURT:   But, again, referring to the

02:10:15   18   evidence, weren't there a number of medical personnel present?

02:10:19   19   The REMSA people, who had gone on to standby because they

02:10:24   20   were unable to resolve the problem with Mr. O'Doan?

02:10:29   21                   MR. BUSBY:   Well, there's a question about how

02:10:32   22   this all happened.    They didn't actually try to resolve it.

02:10:36   23   They never actually tried to control him.        My understanding is

02:10:40   24   he was walking down Gentry Way naked.       Ms. O'Fria was on the

02:10:45   25   phone following him, trying to tell the 911 operator where he


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 25 of 41
                                                                                      25



02:10:49    1   was.    The Fire Department was the first EMS responder on

02:10:54    2   scene.   The -- we've deposed four of the firefighters.           Their

02:11:00    3   stories about what happened are, you know, inconsistent to

02:11:03    4   some extent.

02:11:04    5                But, Mr. O'Doan is walking naked.     He looks like

02:11:07    6   he's -- they say he was power walking.       And they said, hey,

02:11:12    7   buddy, uh, you know, what's, what's going on?        And he just

02:11:15    8   looked at them and walked right past.

02:11:18    9                Now, for a postictal epileptic, for someone who

02:11:23   10   know about epilepsy, you can understand that that kind of

02:11:25   11   thing can happen.    But, apparently, the firefighters didn't

02:11:29   12   recognize it for what it was either, even though the 911

02:11:32   13   operator was told over and over again by Ms. O'Fria, look,

02:11:36   14   he's having a seizure.     He's having a seizure.      He needs

02:11:40   15   help.

02:11:40   16                So, you know, we're not questioning that the police

02:11:43   17   had a proper role to play in this process.        We're questioning,

02:11:48   18   you know, what Sanford did to O'Doan, whether that was

02:11:51   19   appropriate, given that he was suffering from a medical

02:11:54   20   condition.    And under --

02:11:56   21                    THE COURT:   But let me come back to that

02:11:57   22   question because I kind of pulled you off of it was you were

02:12:01   23   responding.    What, what, in your view, should Officer Sanford

02:12:04   24   have done, short of taking some kind of physical control of

02:12:11   25   Mr. O'Doan?


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 26 of 41
                                                                                    26



02:12:13    1                    MR. BUSBY:    First, he should have approached him

02:12:15    2   without yelling at him.       That's number one.   Because if you

02:12:18    3   yell at a postictal epileptic, you're going to terrify them.

02:12:23    4                Number two, if you can, you can herd them by

02:12:27    5   stepping in front of them, kind of directing them where to go.

02:12:30    6   And Mr. O'Doan, you know, his girlfriend has seen him have

02:12:35    7   lots and lots of seizures, and when they're not -- when he

02:12:38    8   doesn't escape the house and they're not this horrific,

02:12:42    9   she's able to do that with him.      And that's what the Epilepsy

02:12:45   10   Foundation says should be done in these cases.

02:12:48   11                And if Sanford chose to take O'Doan down, he didn't

02:12:51   12   have to do it like that.      He didn't have to -- a reverse reap

02:12:59   13   throw, my understanding is if someone is facing away from you,

02:13:03   14   you grab them from behind.      You stick your food in front of

02:13:07   15   their leg.    And you throw them to the ground.

02:13:10   16                Now, I have some experience with that kind of thing

02:13:15   17   from doing martial arts myself, and I've -- you know, if you

02:13:21   18   throw someone who is out of it, who is having a medical

02:13:25   19   condition like that on the ground, they can be severely

02:13:29   20   injured or killed.

02:13:30   21                And so, you know, there -- Officer Sanford had

02:13:35   22   options, had he taken into account what the actual situation

02:13:39   23   was.   This was an epileptic.     This wasn't a lunatic criminal

02:13:44   24   who -- you know, a fleeing felon.       Someone who had committed

02:13:47   25   some kind of horrific crime that was trying to get away from


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 27 of 41
                                                                                      27



02:13:51    1   the police.   This was a medical call.      Everybody knew that.

02:13:55    2              And so, O'Doan, you know, he's in a position where

02:13:59    3   he's terrified to call for help when he does have a seizure

02:14:04    4   because he's afraid, maybe the next time, maybe he will get

02:14:08    5   killed.

02:14:08    6              Now this case presents an opportunity for a

02:14:11    7   resolution of this issue, for the police to get properly

02:14:14    8   trained, and for the wrong that was done to him to be

02:14:17    9   recognized.   That's why the excessive force case -- claim

02:14:23   10   is so important in this case, Your Honor, and the ADA claim.

02:14:26   11                   THE COURT:   Okay.    What was the extent of the

02:14:29   12   injury to Mr. O'Doan?

02:14:31   13                   MR. BUSBY:   There is a litany of abrasions

02:14:35   14   and cuts that are listed on his ER report.        Now Sanford is

02:14:42   15   disputing that -- how those things were caused.         He says in

02:14:47   16   his reports that as a result of being thrown, Mr. O'Doan had

02:14:51   17   lacerations to his head and he was bleeding.

02:14:54   18              Apparently, after they got him, they pinned him

02:14:58   19   down face first on the ground, which is also, you know, a

02:15:02   20   big no, no for an epileptic.      You can kill them if do you

02:15:05   21   that.   And, he continued to struggle.      So, he had abrasions

02:15:09   22   all over his body.    And at the ER, they actually x-rayed his

02:15:15   23   feet because they thought his feet were broken.         He suffered

02:15:18   24   pretty serious injuries to his wrists as a result of being

02:15:22   25   handcuffed because, if you try and do that to a postictal


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 28 of 41
                                                                                      28



02:15:26    1   epileptic, they're going to struggle.         They have no idea what

02:15:29    2   they're doing.

02:15:30    3              So, Your Honor, does that satisfy your questions on

02:15:36    4   that point?

02:15:37    5                    THE COURT:    It gives me some insight.    Yes.

02:15:39    6                    MR. BUSBY:    Okay.

02:15:41    7                    THE COURT:    All right.    Go ahead.   I'm sorry.

02:15:42    8                    MR. BUSBY:    That's okay.

02:15:43    9              So moving past Sheehan, Sanford's own report, you

02:15:51   10   know, describes the degree of force that was used in this

02:15:53   11   case.   And this is what Mr. O'Doan looked like, as presented

02:16:02   12   in Exhibit 2, after this encounter.         He's got very severe, you

02:16:06   13   know, cuts and scratches on his head.

02:16:11   14              The City argues that --

02:16:14   15                    MR. HUGHS:    Excuse me.    My monitor isn't

02:16:16   16   working.   I don't know if it is up there.

02:16:17   17                    THE COURT:    Yeah.   No, mine is not on either.

02:16:19   18                    MR. BUSBY:    Your Honor, I'm just going have to

02:16:21   19   give up on this thing.     It's not working.     I've got it all

02:16:23   20   here.

02:16:23   21                    THE COURT:    Well, I'm familiar with the exhibit.

02:16:25   22   I looked at that before I came into the courtroom.

02:16:27   23                    MR. BUSBY:    Okay.

02:16:30   24              Now, the City argues that the use of force would

02:16:33   25   objectively reasonable.       And if you go through the Graham v.


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 29 of 41
                                                                                         29



02:16:37    1   Conner factors, well, you know, the evidence can most

02:16:40    2   certainly show otherwise.      And this case is actually a lot --

02:16:44    3   it's very similar to what happened in Graham v. Conner.

02:16:48    4   Dethrown Graham (phonetic), a diabetic, is having an insulin

02:16:51    5   reaction, runs into a grocery store, grabs some orange juice.

02:16:53    6   The police see him acting strange, like he's drunk.         They

02:16:57    7   detain him for a period of time and rough him up.          And,

02:17:02    8   eventually, they discover the truth of the situation.             He's

02:17:06    9   not drunk.    The orange juice, after they give it to him, takes

02:17:10   10   effect.   His blood sugar returns to normal.       And they let him

02:17:14   11   go.

02:17:14   12                Now, this case is even worse than that because they

02:17:17   13   didn't let Mr. O'Doan go after they figured out what was going

02:17:20   14   on.

02:17:20   15                O'Doan didn't make any verbal threats at the

02:17:23   16   officers.    He wasn't armed.    He made no attempt to physically

02:17:28   17   attack Sanford and Leavitt.      There's going to be disputed

02:17:31   18   testimony on whether he actually turned towards Leavitt and

02:17:35   19   made an aggressive action towards him.       A couple of the

02:17:38   20   firefighters testified that that didn't -- they didn't

02:17:41   21   indicate that that happened.

02:17:42   22                The nature of the call was clearly medical.          It

02:17:45   23   wasn't a domestic violence call.       Ms. O'Fria is begging for

02:17:49   24   help because her boyfriend had a seizure.

02:17:51   25                Alternative methods were available, as we


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 30 of 41
                                                                                   30



02:17:54    1   already discussed.    And no reasonable officer, knowing the

02:17:57    2   circumstances, knowing that this was a medical call, knowing

02:18:00    3   that this was an epileptic, would have done what Sanford did.

02:18:03    4   And we think we can produce evidence sufficient to show that

02:18:06    5   based on his own report, based on expert testimony on what

02:18:10    6   police should have done under these circumstances, so on and

02:18:14    7   so forth.

02:18:15    8                Now, the qualified immunity analysis, in the motion

02:18:19    9   it contains kind of a synopsis of the law, but it only seeks

02:18:23   10   qualified immunity analysis under one of the claims, which was

02:18:26   11   the excessive force claim.

02:18:29   12                Now, excessive force claims are factored in

02:18:34   13   inquiries.    They -- every one is going to be completely

02:18:37   14   different because every situation is completely different.

02:18:39   15   The Court has general principals to guide it, but there's no

02:18:42   16   question that the right to be free from excessive force is

02:18:45   17   well-established at the time of the arrest.        And because

02:18:49   18   Sanford knew O'Doan was epileptic, he could not have believed

02:18:56   19   his conduct was consistent with O'Doan's rights.         I don't

02:19:00   20   think there's anybody who thinks it's okay to Judo throw a

02:19:04   21   sick person.    But, that's the actual circumstance that Sanford

02:19:09   22   was facing.

02:19:10   23                The City argues that Sanford and Leavitt had

02:19:15   24   probable cause to arrest O'Doan.       Well, under the totality

02:19:19   25   of the circumstances known to Sanford and Leavitt, a prudent


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 31 of 41
                                                                                        31



02:19:22    1   person wouldn't have arrested him.       They arrested this guy

02:19:25    2   when he was in his hospital gown, at Renown, after an ER

02:19:29    3   doctor said he had a seizure, wearing a hospital bracelet.

02:19:33    4   They completely ignored what -- you know, this bizarre

02:19:38    5   situation.    Okay?    What's the cause of this?    They don't even

02:19:41    6   address any cause in the report, just the fact that he was

02:19:43    7   naked walking on the street.

02:19:45    8                They state in the motion that it was more

02:19:52    9   consistent with drug use.      Well, there's no evidence that

02:19:54   10   he was on drugs.      There is evidence that he had a seizure.

02:19:57   11   He's postictal.    That's why the whole call happened.

02:20:00   12                It's incredibly infuriating to a person with a

02:20:04   13   sickness like this, to explain facts and circumstances that --

02:20:08   14   where their behavior is odd, and to not be believed for no

02:20:13   15   reason, without good cause at all.       And, to be arrested for it

02:20:16   16   is much, much, much worse.      It's very harmful.

02:20:20   17                Now the central fact in this case is that he had

02:20:25   18   epilepsy and he had had a seizure.       And that's what all of

02:20:28   19   this -- all of the evidence is going to show here.         And

02:20:32   20   Sanford and Leavitt were deliberately indifferent and showed

02:20:36   21   a reckless disregard for this fact and for the truth.             And

02:20:40   22   there is a whole bunch of cases under the Devereaux v. Abbey

02:20:46   23   line of case in the Ninth Circuit, and the Hale v. Fish case

02:20:50   24   in the Fifth Circuit, which we cited, where you can show a

02:20:54   25   constitutional violation by showing an affidavit supporting


                                      KATHRYN M. FRENCH, RPR, CCR
                                             (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 32 of 41
                                                                                      32



02:20:56    1   arrest wherein it contained critical omissions that would have

02:21:00    2   negated probable cause.

02:21:02    3                Well, the justice court judge who determined that

02:21:06    4   there was probable cause was not apprised of the facts in this

02:21:09    5   case.   Had he been apprised that, okay, the call was about

02:21:13    6   epilepsy.    The police were informed that this call was about

02:21:16    7   epilepsy before they encountered him.       They took him to the

02:21:20    8   hospital.    He was diagnosed with having had a seizure.          Okay?

02:21:23    9   If those facts were known to a judge trying to determine

02:21:27   10   probable cause in this case, the likelihood that probable

02:21:30   11   cause would have been found is minimal, in my humble opinion.

02:21:34   12                The City argues that Sanford and Leavitt's actions

02:21:38   13   were proper and justified and, therefore, we don't have an

02:21:42   14   assault and battery claim.      If what we prove about the

02:21:45   15   constitutional violation is true, then the use of force was

02:21:48   16   unlawful.    And, we do have such a claim against Sanford.         And,

02:21:52   17   the same basic analysis applies to the false arrest and false

02:21:55   18   imprisonment claims.     I mean, if there's no legal cause and

02:21:58   19   justification, if the arrest was in violation of Mr. O'Doan's

02:22:02   20   constitutional rights, and was without reasonable cause, then

02:22:05   21   those claims are valid.

02:22:07   22                And I would be glad to answer any questions you

02:22:10   23   have, Your Honor.

02:22:10   24                    THE COURT:   All right.   No.   I don't have any

02:22:11   25   questions.    Thank you very much, Mr. Busby.


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 33 of 41
                                                                                      33



02:22:15    1              Mr. Hughs.

02:22:16    2                    MR. HUGHS:   Thank you, Your Honor.

02:22:19    3              Your Honor, I'm very glad the Court asked what

02:22:23    4   should the police officers have done because we've been

02:22:26    5   asking that.    We asked it in discovery.      The response was

02:22:28    6   we don't have to tell you.      And that's really been a problem

02:22:31    7   for us in this case.

02:22:32    8                    MR. BUSBY:   I object, Your Honor.     Discovery

02:22:35    9   is continuing.    We've provided documents from the Epilepsy

02:22:38   10   Foundation which show what should have been done.         We're

02:22:41   11   going to provide an expert who is going to explain what should

02:22:44   12   have been done.

02:22:45   13                    THE COURT:   Okay.

02:22:45   14                    MR. HUGHS:   With that being said, I think a lot

02:22:47   15   of Mr. Busby's argument strays from the 12(b)(6) inquiry,

02:22:54   16   which is all we're concerned with here today, and can be

02:22:56   17   concerned with.

02:22:57   18              Your Honor, the motion was -- and I, probably, in

02:23:04   19   hindsight, would do it a little differently, but the motion

02:23:06   20   was supposed to be a roadmap showing this is when the police

02:23:10   21   first heard the call and this is what they knew.         And that's

02:23:13   22   why on page 3 of the Motion to Dismiss, which is document 10,

02:23:16   23   at line 3, I indicate that it was at 6:55 that the police

02:23:22   24   officers were first called.      And that's important because the

02:23:26   25   audio was -- the audio tapes, the various ones I've provided


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 34 of 41
                                                                                       34



02:23:32    1   to the Court, were to show the Court the context of what was

02:23:36    2   going on at the time the police were called.        But, what the

02:23:40    3   police heard only began at 6:55.       And then in the call log,

02:23:45    4   which is Exhibit 5 of the motion, you can see where -- or

02:23:52    5   18:55:35, that's where the police first receive their call

02:23:58    6   and, at that point, they were getting a call about someone who

02:24:01    7   was naked, epileptic, trying to break out windows and hurt

02:24:05    8   himself.   Someone who was uncooperative and violent.         That's

02:24:09    9   what the police knew, and that's why they acted appropriately

02:24:13   10   under the circumstances.

02:24:14   11              What, I think, is happened here, in the opposition

02:24:17   12   argument in this hearing, is there's been a lot of discussion

02:24:19   13   about things that aren't in the record, aren't in the

02:24:22   14   Complaint, aren't in any of the exhibits.        It's a lot of

02:24:26   15   what the plaintiffs want to put forth as a case.         But, we're

02:24:29   16   here to test the sufficiency of the Complaint.         And so that's

02:24:33   17   what the motion attempts to do, is say you can take these

02:24:37   18   judicially noticeable bits of information, you can look at

02:24:42   19   the Complaint, look at our argument and understand that,

02:24:46   20   under the circumstances, these claims aren't cognizable, that

02:24:52   21   under the test, under the Ashcroft test, under the test under

02:24:56   22   Rule 12(b)(6), they don't pass muster.

02:25:00   23              There's only a few things I want to address, just

02:25:06   24   quickly.   The paraplegic argument, I think is a false argument

02:25:11   25   here.   The problem is we have a naked man, who nobody knew


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 35 of 41
                                                                                      35



02:25:15    1   what was going on with him, the police officers didn't know

02:25:18    2   what was going on with him, going down a street, and they were

02:25:20    3   called to assist because he was violent and uncooperative.

02:25:24    4   When you argue this is the same as shooting a paraplegic,

02:25:27    5   no it's not, because it's pretty obvious when someone is a

02:25:31    6   paraplegic, if they are disabled or, for instance, in a

02:25:35    7   wheelchair or something like that.

02:25:37    8              There's no indication here.      The police had to go

02:25:40    9   with what they knew at the time.       And that's the Graham v.

02:25:42   10   Conner test.    What they knew at the time.      No Monday morning

02:25:47   11   quarterbacking.

02:25:48   12              With regard to the whole Sheehan discussion, the

02:25:52   13   only point the City is trying to make with regard to Title II

02:25:55   14   with regard to the American's with Disabilities Act, is

02:26:02   15   that, whether it applies or not, there is case law out

02:26:05   16   there, including in Sheehan, that says under the appropriate

02:26:09   17   circumstances, you can still arrest a person with a

02:26:13   18   disability.    In other words, a disability isn't a shield

02:26:15   19   from arrest under ADA.     That's what -- the point that the

02:26:19   20   City is trying to make.

02:26:20   21              As far as the finding probable cause in the justice

02:26:30   22   court, Your Honor, that does have issue preclusive effect.

02:26:35   23   That was a hearing before another court.        This court, this

02:26:41   24   district does not get to re-decide that issue.         That's issue

02:26:44   25   preclusion.    He was -- Mr. O'Doan had his chance in court at


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 36 of 41
                                                                                        36



02:26:48    1   that time, and the Court could make as much of an inquiry as

02:26:53    2   it felt was appropriate, but there was a finding of probable

02:26:56    3   cause and, under those circumstances, certain claims just

02:26:59    4   can't exist.

02:26:59    5                   MR. BUSBY:   Your Honor -- I'm sorry, Mr. Hughs.

02:27:02    6              Just for the record I would like to object, once

02:27:04    7   again, to that line of argument.

02:27:06    8                   MR. HUGHS:   Okay.    Well, it's a legal argument.

02:27:08    9   It's a legal argument.     And so that's in the record, that the

02:27:13   10   Court found probable cause.      Five Star is the seminal case

02:27:18   11   in Nevada indicating what the issue preclusion test is.           The

02:27:22   12   issue preclusion -- the federal courts look to the State tests

02:27:27   13   for how issue preclusion is applied.       And so, in this case,

02:27:30   14   issue preclusion is applied because another court has already

02:27:36   15   decided this issue and it can't be decided again.

02:27:39   16              It would be akin to, for instance, Your Honor, a

02:27:42   17   coerced confession claim, when, in fact, somebody had already

02:27:47   18   been tried in state court and that court had already gone

02:27:50   19   through a whole hearing and a whole decision as to whether a

02:27:54   20   confession was coerced and decided it wasn't.        You can't then

02:27:57   21   have a federal court decide that issue again.        And there's a

02:28:01   22   whole line of authority regarding that.

02:28:05   23              So with that being said -- I'll just keep it

02:28:08   24   short -- we believe qualified immunity applies.         We believe

02:28:12   25   that under the facts and circumstances, the civil rights and


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 37 of 41
                                                                                      37



02:28:16    1   state tort claims can't be upheld, especially where there

02:28:20    2   was a finding of probable cause, and we don't believe the

02:28:23    3   allegations that, merely that Mr. O'Doan was arrested is

02:28:26    4   enough to support the ADA claim.

02:28:28    5              Thank you.

02:28:35    6                   THE COURT:   All right.    Well, I'll give you a

02:28:39    7   decision on this soon.     As I said, I'm still very troubled

02:28:44    8   over -- and we're really arguing the merits of the case much

02:28:48    9   more than the 12(b)(6) issues that require the Court to

02:28:53   10   accept as true the well-pled allegations of the Complaint.

02:28:59   11   But, nonetheless, these issues are issues which are going

02:29:03   12   to be in front of this court, and so I appreciate, until a

02:29:07   13   resolution is finally made, either for defense or plaintiff,

02:29:12   14   so I appreciate the argument and the presentation.

02:29:16   15              I don't have any problem saying that Graham

02:29:22   16   certainly stands for the proposition that you have to go

02:29:26   17   by the reasonableness of the officer's conduct at the time

02:29:28   18   that that conduct occurs, rather than in hindsight.         And I'm

02:29:35   19   troubled over the fact that -- I mean, I can tell you I've

02:29:40   20   been dealing with drug cases for the last two or three weeks,

02:29:44   21   and these kind of symptoms; disorientation and people not

02:29:53   22   responding to commands of other people, of law enforcement

02:29:59   23   in particular, and sometimes the destruction of property,

02:30:02   24   threats, et cetera, these are all so, classically, symptoms of

02:30:06   25   drug use and abuse.     And I'm not suggesting, in any way, that


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 38 of 41
                                                                                     38



02:30:10    1   Mr. O'Doan was using some kind of drugs.        What I'm saying is

02:30:15    2   if you look at it from the police officer's standpoint, and

02:30:18    3   you have someone walking down a street in broad daylight,

02:30:22    4   nude, not responding to commands, appearing, at times, to be

02:30:27    5   hostile toward those people who may be trying to assist him

02:30:31    6   at the scene, if the officers -- and, very significant to the

02:30:42    7   Court, Mr. O'Doan is out in the public.        He's not in his home.

02:30:46    8   He's not locked in a bedroom.      He's not locked in a bathroom.

02:30:50    9   He's not in a confined quarters.       He's out in the public.

02:30:54   10   And, one, people are being exposed.       And certainly in broad

02:31:01   11   daylight, I certainly believe that there would have been

02:31:07   12   members of the public, which would have included children,

02:31:10   13   who could have been exposed somehow to Mr. O'Doan through no

02:31:15   14   fault of anyone.    But, the fact is that that's something that

02:31:18   15   the police have to be concerned about.       And, the fact that

02:31:25   16   this person could have just turned and walked out into the

02:31:29   17   traffic on the street, that he could have had some kind of

02:31:35   18   disability in dealing with the confrontation that would have

02:31:38   19   caused him to do something that could exacerbate the entire

02:31:43   20   situation, which may have called upon the officers to use

02:31:46   21   greater force than was used, it just -- I'm troubled over

02:31:54   22   what the officers could do here.       But, I do recognize the

02:31:57   23   plaintiff's argument that perhaps some ADA training would

02:32:00   24   have helped.    But, the either side of that coin is that a

02:32:05   25   postictal state, I've had some exposure to those over my years


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 39 of 41
                                                                                    39



02:32:10    1   of experience, and they deal with people who are in varying

02:32:13    2   levels of mental recovery.      It usually starts with confusion

02:32:19    3   and then, sometimes, there's no sense of what they're doing or

02:32:22    4   how they're doing it, and then slowly evolves to a situation

02:32:27    5   where they do have some awareness.       And ultimately, and

02:32:30    6   hopefully, resolves in a situation where they come back to

02:32:33    7   normal.

02:32:34    8              But, how are the officers to know what the level is

02:32:38    9   of the state at the time?

02:32:41   10              I mean hindsight might help, but it might not.         But

02:32:46   11   at the scene at the time, recognizing everything that's going

02:32:49   12   on here, it strikes me that people would have a hard time

02:33:02   13   describing what else the officers could do than what they did.

02:33:09   14              I'll give you a ruling, but I suspect that I'm

02:33:16   15   really going to have to see and hear the evidence rather than

02:33:19   16   just -- I appreciate counsel's representations concerning

02:33:24   17   what happened.    I recognize that both of you have been very

02:33:29   18   forthright with me.     But, the fact is I need evidence to

02:33:33   19   decide this case on the merits and I don't have that at this

02:33:40   20   stage in the proceedings.      And yet, I recognize that it's in

02:33:43   21   everybody's interest to attempt to reach some resolution of

02:33:48   22   this within a reasonable amount of time.

02:33:51   23              So, I will get back to you as quickly as I can.        And

02:33:56   24   I thank you for your arguments.

02:33:58   25              Court will be adjourned.


                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
            Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 40 of 41
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            2              (Court Adjourned.)

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                                    KATHRYN M. FRENCH, RPR, CCR
                                           (775) 786-5584
 Case 3:17-cv-00293-LRH-CBC Document 38 Filed 01/11/18 Page 41 of 41
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 3             I certify that the foregoing is a correct
               transcript from the record of proceedings
 4             in the above-entitled matter.

 5            \s\ Kathryn M. French                     January 11, 2018

 6
               KATHRYN M. FRENCH, RPR, CCR                     DATE
 7             Official Reporter

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                         KATHRYN M. FRENCH, RPR, CCR
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